                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00299-CR

ANTHONY STEPHENS, Appellant                §   On Appeal from the 485th District
                                               Court

                                           §   of Tarrant County (1678472)

V.                                         §   August 22, 2024

                                           §   Memorandum Opinion by Justice
                                               Birdwell

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.


                                      SECOND DISTRICT COURT OF APPEALS


                                      By /s/ Wade Birdwell
                                         Justice Wade Birdwell
